Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                         Desc: Main
                           Document Page 1 of 20
                                  Response Deadline: July 19, 2021, at 4:00PM (Atlantic Standard Time)
                                     Hearing Date: August 4, 2021, at 9:30AM (Atlantic Standard Time)

      PLEASE CAREFULLY REVIEW THIS OBJECTION AND THE ATTACHMENTS HERETO
          TO DETERMINE WHETHER THE OBJECTION AFFECTS YOUR CLAIM(S).


                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

  In re:                                                           PROMESA
                                                                   Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
           as representative of                                    (Jointly Administered)
  THE COMMONWEALTH OF PUERTO RICO, et
  al.,                                                             This filing relates to PBA and
                                                                   ERS.
                                       Debtors. 1

   THREE HUNDRED FORTY-FIRST OMNIBUS OBJECTION (NON-SUBSTANTIVE)
  OF THE PUERTO RICO PUBLIC BUILDINGS AUTHORITY AND THE EMPLOYEES
  RETIREMENT SYSTEM OF THE GOVERNMENT OF THE COMMONWEALTH OF
            PUERTO RICO TO CROSS-DEBTOR DUPLICATE CLAIMS

           The Puerto Rico Public Buildings Authority (“PBA”), and the Employees Retirement

  System of the Government of the Commonwealth of Puerto Rico (“ERS,” and together with PBA,

  the “Debtors”), by and through the Financial Oversight and Management Board for Puerto Rico



  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
          and the last four (4) digits of each Debtor’s federal tax identification number, as applicable,
          are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No.
          17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
          Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four
          Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority
          (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID:
          3808); (iv) Employees Retirement System of the Government of the Commonwealth of
          Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal
          Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case
          No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico
          Public Buildings Authority (“PBA”, and together with the Commonwealth, COFINA,
          HTA, ERS, and PREPA, the “Debtors”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last
          Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case
          numbers due to software limitations).
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                        Desc: Main
                           Document Page 2 of 20



  (the “Oversight Board”), as the sole Title III representative of the Debtors pursuant to section

  315(b) of the Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”), 2

  file this three hundred forty-first omnibus objection (the “Three Hundred Forty-First Omnibus

  Objection”) to the cross-debtor duplicate proofs of claim listed on Exhibit A hereto, and in support

  of the Three Hundred Forty-First Omnibus Objection respectfully represent as follows:

                                            JURISDICTION

          1.        The United States District Court for the District of Puerto Rico has subject matter

  jurisdiction to consider this matter and the relief requested herein pursuant to PROMESA

  section 306(a).

          2.        Venue is proper in this district pursuant to PROMESA section 307(a).

                                            BACKGROUND

  A.      The Bar Date Orders in the Title III Cases

          3.        On May 3, 2017, the Oversight Board, at the request of the Governor, issued a

  restructuring certification pursuant to PROMESA sections 104(j) and 206 and filed a voluntary

  petition for relief for the Commonwealth of Puerto Rico (the “Commonwealth”) pursuant to

  PROMESA section 304(a), commencing a case under Title III thereof (the “Commonwealth Title

  III Case”). ”). On May 21, 2017, the Oversight Board issued a restructuring certification pursuant

  to PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for ERS, pursuant

  to PROMESA section 304(a), commencing a case under Title III thereof (the “ERS Title III

  Case”). On September 27, 2019, the Oversight Board issued a restructuring certification pursuant

  to PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for PBA, pursuant

  to PROMESA section 304(a), commencing a case under Title III thereof (the “PBA Title III Case,”


  2
      PROMESA is codified at 48 U.S.C. §§ 2101–2241.


                                                     2
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                    Desc: Main
                           Document Page 3 of 20



  and together with the Commonwealth Title III Case and the ERS Title III Case, the “Title III

  Cases”).      On June 29, 2017, and October 9, 2019 the Court entered orders granting the joint

  administration of the Title III Cases for procedural purposes only. ECF No. 537, ECF No. 8829. 3

           4.      On January 16, 2018, the Debtors filed their Motion for Order (A) Establishing

  Deadlines and Procedures for Filing Proofs of Claim and (B) Approving Form and Manner of

  Notice Thereof [ECF No. 2255] (the “Commonwealth and ERS Bar Date Motion”). By the Order

  (A) Establishing Deadlines and Procedures for Filing Proofs of Claims and (B) Approving Form

  and Manner of Notice Thereof [ECF No. 2521] (the “Initial Commonwealth and ERS Bar Date

  Order”), the Court granted the relief requested in the Bar Date Motion and established deadlines

  and procedures for filing proofs of claim in the Title III Cases. Upon the informative motion of

  certain creditors, and the support of the Debtors, the Court subsequently entered the Order (A)

  Extending Deadlines for Filing Proofs of Claim and (B) Approving Form and Manner of Notice

  Thereof [ECF No. 3160] (together with the Initial Commonwealth and ERS Bar Date Order, the

  “Commonwealth and ERS Bar Date Orders”) extending these deadlines to June 29, 2018 at 4:00

  pm (Atlantic Time).

           5.      On February 11, 2020, PBA filed its Motion for Order (A) Establishing Deadlines

  and Procedures for Filing Proofs of Claim and (B) Approving Form and Manner of Notice Thereof

  [ECF No. 36 in 19-BK-5523-LTS] (the “PBA Bar Date Motion”). Pursuant to the Order (A)

  Establishing Deadlines and Procedures for Filing Proofs of Claims and (B) Approving Form and

  Manner of Notice Thereof [ECF No. 55 in 19-BK-5523-LTS] (the “Initial PBA Bar Date Order”),

  the Court granted the relief requested in the PBA Bar Date Motion and established deadlines and



  3
      Unless otherwise stated herein, ECF citations refer to documents filed in Bankruptcy Case No.
          17 BK 3283-LTS.


                                                  3
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                      Desc: Main
                           Document Page 4 of 20



  procedures for filing proofs of claim in the PBA Title III Case. In light of the public health

  emergency created by the spread of COVID-19, the Court subsequently extended this deadline to

  and including July 29, 2020 at 4:00 p.m. (Atlantic Time), by the Order (A) Extending Deadlines

  for Filing Proofs of Claim and (B) Approving Form and Manner of Notice Thereof [ECF No.

  13403] (together with the PBA Initial Bar Date Order, the “PBA Bar Date Orders,” and together

  with the Commonwealth and ERS Bar Date Orders, the “Bar Date Orders”).

  D.     PBA and ERS Claims, Omnibus Objection Procedures, and Claim Objections

         6.      To date, approximately 179,420 proofs of claim were filed against the Debtors and

  logged by Prime Clerk, LLC. Such proofs of claim totaled approximately $43.59 trillion in

  asserted claims against the Debtors.

         7.      Of the proofs of claim filed, approximately 116,160 have been filed in relation to,

  or reclassified to be asserted against, the Commonwealth. Over 53,022 proofs of claim have been

  filed in relation to, or reclassified to be asserted against, ERS. Approximately 390 proofs of claim

  have been filed in relation to, or reclassified to be asserted against, PBA. In accordance with the

  terms of the Bar Date Orders, many of these claims need not have been filed at all, or suffer from

  some other flaw, such as being subsequently amended, not putting forth a claim for which the

  Debtors are liable, being duplicative of other proofs of claim, or failing to provide information

  necessary for the Debtors to determine whether the claim is valid.

         8.      In order to efficiently resolve as many of the unnecessary proofs of claim as

  possible, on October 16, 2018, the Debtors filed with this Court their Motion for Entry of an Order

  (A) Approving Limited Omnibus Objection Procedures, (B) Waiving the Requirement of

  Bankruptcy Rule 3007(e)(6), and (C) Granting Related Relief [ECF No. 4052] (the “Omnibus

  Procedures Motion”). The Court granted the relief requested in the Omnibus Procedures Motion




                                                   4
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                        Desc: Main
                           Document Page 5 of 20



  by order dated November 14, 2018. See Order (A) Approving Limited Omnibus Objection

  Procedures, (B) Waiving the Requirement of Bankruptcy Rule 3007(e)(6), and (C) Granting

  Related Relief [ECF No. 4230]; Omnibus Objection Procedures [ECF No. 4230-1] (collectively,

  the “Initial Omnibus Objection Procedures”). On November 29, 2018, the Court approved English

  and Spanish versions of the forms of notice for omnibus objections to be filed in accordance with

  the Initial Omnibus Objection Procedures. See Order Approving the English and Spanish Versions

  of the Form of Notice for Omnibus Objections [ECF No. 4381] (the “Notice Order”).

         9.       In the continued interest of resolving any unnecessary proofs of claim in an efficient

  manner, on May 23, 2019, the Debtors filed an amended procedures motion seeking, among other

  things, to allow the Debtors to file omnibus objections on substantive bases, to further expand the

  number of claims that may be included on an objection, and to approve additional forms of notice.

  Notice of Hearing with Respect to an Order (A) Approving Amended Omnibus Objection

  Procedures, (B) Waiving Requirements of Bankruptcy Rule 3007(e), (C) Approving Additional

  Forms of Notice, and (D) Granting Related Relief [ECF No. 7091]. On June 14, 2019, the Court

  granted the requested relief, by the Order (A) Approving Amended Omnibus Objection Procedures,

  (B) Waiving Requirements of Bankruptcy Rule 3007(e), (C) Approving Additional Forms of Notice,

  and (D) Granting Related Relief [ECF No. 7440] (the “Amended Omnibus Objection

  Procedures”).

         10.      Pursuant to the Initial Omnibus Objection Procedures and Amended Omnibus

  Objection Procedures, to date the Court has held over 14 hearings related to over 140 omnibus

  objections filed by the Commonwealth, the Puerto Rico Sales Tax Financing Corporation

  (“COFINA”), the Puerto Rico Electric Power Authority (“PREPA”), the Puerto Rico Highways

  and Transportation Authority (“HTA”) and/or ERS. Based upon rulings and orders of the Court




                                                    5
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                     Desc: Main
                           Document Page 6 of 20



  to date, approximately 101,019 claims asserting $43.59 trillion in liability against the

  Commonwealth, COFINA, PREPA, HTA, and ERS have been disallowed and expunged from the

  claims registry in the Title III proceedings.

         11.     This Three Hundred Forty-First Omnibus Objection is filed in accordance with the

  Court’s Amended Omnibus Objection Procedures.

                             OBJECTIONS TO PROOFS OF CLAIM

         12.     The Amended Omnibus Objection Procedures allow PBA and ERS to file an

  omnibus objection to multiple proofs of claim on any basis provided for in Federal Rule of

  Bankruptcy Procedure 3007(d)(1)-(7).

         13.     The Three Hundred Forty-First Omnibus Objection seeks to disallow, in

  accordance with Federal Rule of Bankruptcy Procedure 3007(d)(2), Federal Rule of Bankruptcy

  Procedure 3007(d)(1) and the Amended Omnibus Objection Procedures, claims filed against PBA

  or ERS that are duplicative of other proofs of claim filed against the Commonwealth, and for which

  the asserted liability, if any, would be against the Commonwealth, not PBA or ERS.

         14.     As set forth in Exhibit A hereto, certain claims filed against PBA and ERS, as

  identified in the column titled “Claims to Be Disallowed” (collectively, the “Claims to Be

  Disallowed”), assert liabilities that are duplicative of other proofs of claim filed against the

  Commonwealth, as identified in the column titled “Remaining Claims” (each a “Remaining

  Claim” and collectively, the “Remaining Claims”). Based upon a review of the Debtors’ books

  and records, the asserted liability, if any, for the Claims to Be Disallowed is properly asserted

  against the Commonwealth—the entity against which the Remaining Claim is asserted. The

  Claims to Be Disallowed thus do not represent valid claims against PBA and ERS.

         15.     Any failure to disallow the Claims to Be Disallowed will result in the applicable

  claimants potentially receiving an unwarranted double recovery against the Debtors, to the


                                                  6
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                         Desc: Main
                           Document Page 7 of 20



  detriment of other stakeholders in the Debtors’ Title III proceedings. The holders of the Claims to

  Be Disallowed will not be prejudiced by the disallowance of their claims because they will each

  retain a Remaining Claim against the Commonwealth. Because this Three Hundred Forty-First

  Omnibus Objection to the Claims to Be Disallowed does not constitute an objection to the

  Remaining Claims, the Debtors reserve their right to object to the Remaining Claims on any other

  grounds whatsoever.

         16.     In support of the foregoing, the Debtors rely on the Declaration of Jay Herriman

  in Support of the Three Hundred Forty-First Omnibus Objection (Non-Substantive) of the Puerto

  Rico Public Buildings Authority and the Employees Retirement System of the Government of the

  Commonwealth of Puerto Rico to Cross-Debtor Duplicate Claims, dated June 18, 2021, attached

  hereto as Exhibit B.

                                                NOTICE

         17.     In accordance with the Amended Omnibus Objection Procedures and the Court’s

  Notice Order, the Debtors are providing notice of the Three Hundred Forty-First Omnibus

  Objection to (a) the individual creditors subject to the Three Hundred Forty-First Omnibus

  Objection, (b) the U.S. Trustee, and (c) the Master Service List (as defined by the Fourteenth

  Amended Notice, Case Management and Administrative Procedures [ECF No. 15894-1]), which

  is available on the Debtors’ case website at https://cases.primeclerk.com/puertorico. A copy of

  the notice for the Three Hundred Forty-First Omnibus Objection is attached hereto as Exhibit C.

  Spanish translations of the Three Hundred Forty-First Omnibus Objection and all of the exhibits

  attached hereto are being filed with this objection and will be served on the parties. The Debtors

  submit that, in light of the nature of the relief requested, no other or further notice need be given.




                                                    7
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                       Desc: Main
                           Document Page 8 of 20



                                    RESERVATION OF RIGHTS

         18.     This Three Hundred Forty-First Omnibus Objection is limited to the grounds stated

  herein. Accordingly, it is without prejudice to the rights of the Debtors to object to the Claims to

  Be Disallowed or any other claims on any ground whatsoever. The Debtors expressly reserve all

  further substantive or procedural objections. Nothing contained herein or any actions taken

  pursuant to such relief is intended or should be construed as: (a) an admission as to the validity of

  any claim against the Debtors; (b) a waiver of the Debtors’ right to dispute any claim on any

  grounds; (c) a promise or requirement to pay any claim; (d) a request or authorization to assume

  any prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or

  (e) a waiver of the Debtors’ rights under PROMESA, the Bankruptcy Code or any other applicable

  law.

                                        NO PRIOR REQUEST

         19.     No prior request for the relief sought in this Three Hundred Forty-First Omnibus

  Objection has been made to this or any other court.

         WHEREFORE the Debtors respectfully request entry of an order, substantially in the form

  of the proposed order attached hereto as Exhibit D, (1) granting the relief requested herein, and

  (2) granting the Debtors such other and further relief as is just.




                                                    8
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34       Desc: Main
                           Document Page 9 of 20



  Dated: June 18, 2021                           Respectfully submitted,
         San Juan, Puerto Rico

                                                 /s/ Hermann D. Bauer
                                                 Hermann D. Bauer
                                                 USDC No. 215205
                                                 Carla García-Benítez
                                                 USDC No. 203708
                                                 Gabriel A. Miranda
                                                 USDC No. 306704
                                                 O’NEILL & BORGES LLC
                                                 250 Muñoz Rivera Ave., Suite 800
                                                 San Juan, PR 00918-1813
                                                 Tel: (787) 764-8181
                                                 Fax: (787) 753-8944

                                                 /s/ Martin J. Bienenstock
                                                 Martin J. Bienenstock (pro hac vice)
                                                 Brian S. Rosen (pro hac vice)
                                                 PROSKAUER ROSE LLP
                                                 Eleven Times Square
                                                 New York, NY 10036
                                                 Tel: (212) 969-3000
                                                 Fax: (212) 969-2900

                                                 Attorneys for the Financial
                                                 Oversight and Management Board
                                                 for Puerto Rico, as representative of
                                                 the Puerto Rico Public Buildings
                                                 Authority and the Employees
                                                 Retirement System for the
                                                 Government of the Commonwealth of
                                                 Puerto Rico




                                        9
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                         Desc: Main
                           Document Page 10 of 20
                                Fecha límite para responder: 19 de julio de 2021, a las 04:00 p.m. (AST)
                                            Fecha de la vista: 4 de agosto de 2021, a las 9:30 a.m. (AST)

           REVISE DETENIDAMENTE LA PRESENTE OBJECIÓN Y LOS DOCUMENTOS
              ADJUNTOS PARA DETERMINAR SI LA OBJECIÓN AFECTA A SU(S)
                                RECLAMACIÓN(ES).


                     TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                          PARA EL DISTRITO DE PUERTO RICO

  In re:                                                           PROMESA
                                                                   Título III
  JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
  FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
            como representante del                                 (Administrado Conjuntamente)
  ESTADO LIBRE ASOCIADO DE PUERTO RICO et
  al.,                                                             La presente radicación guarda
                                                                   relación con la AEP y el SRE.
                                      Deudores. 1

      TRICENTÉSIMA CUADRAGÉSIMA PRIMERA OBJECIÓN GLOBAL (NO
  SUSTANTIVA) DE LA AUTORIDAD DE EDIFICIOS PÚBLICOS DE PUERTO RICO Y
   DEL SISTEMA DE RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO
    LIBRE ASOCIADO DE PUERTO RICO A RECLAMACIONES DUPLICADAS DE
                        DEUDORES RECÍPROCOS




  1
       Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
      Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
      cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
      Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
      federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
      (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
      contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
      "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
      contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
      Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
      cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
      Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
      dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
      de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
      "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
      identificación contributiva federal: 3801) (Los números de los casos de Título III están
      enumerados como números de casos de quiebra debido a ciertas limitaciones en el programa
      informático).
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                       Desc: Main
                           Document Page 11 of 20



          La Autoridad de Edificios Públicos de Puerto Rico (la "AEP") y el Sistema de Retiro de

  los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE", y junto con la

  AEP, los "Deudores"), a través de la Junta de Supervisión y Administración Financiera para Puerto

  Rico (la "Junta de Supervisión"), como el único representante de Título III de los Deudores

  conforme a la sección 315(b) de la Ley para la Supervisión, Administración y Estabilidad

  Económica de Puerto Rico ("PROMESA"), 2 radican esta tricentésima cuadragésima primera

  objeción global (la "Tricentésima cuadragésima primera objeción global") a las evidencias de

  reclamaciones duplicadas de deudores recíprocos que figuran en el Anexo A del presente

  documento, y en apoyo de la Tricentésima cuadragésima primera objeción global manifiestan

  respetuosamente lo siguiente:

                                           JURISDICCIÓN

          1.     El Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto Rico tiene

  jurisdicción sobre la materia para atender la presente causa y el remedio en ella solicitado conforme

  a la sección 306(a) de PROMESA.

          2.     La sede judicial de este distrito es la competente conforme a la sección 307(a) de

  PROMESA.

                                         ANTECEDENTES

  A.      Órdenes de Fecha Límite en los Casos de Título III

          3.     El 3 de mayo de 2017, la Junta de Supervisión, a petición del Gobernador, emitió

  una certificación de reestructuración conforme a las secciones 104(j) y 206 de PROMESA, y

  radicó una petición voluntaria de remedio para el Estado Libre Asociado de Puerto Rico (el "ELA")

  conforme a la sección 304(a) de PROMESA, iniciando un caso conforme al Título III de dicho


  2
      PROMESA ha sido codificada en el Título 48 U.S.C., §§ 2101–2241.


                                                   2
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                        Desc: Main
                           Document Page 12 of 20



  cuerpo legal (el "Caso de Título III del ELA"). ”). El 21 de mayo de 2017, la Junta de Supervisión

  emitió una certificación de reestructuración conforme a las secciones 104(j) y 206 de PROMESA,

  y radicó una petición voluntaria de remedio para el SRE conforme a la sección 304(a) de

  PROMESA, iniciando un caso conforme al Título III de dicho cuerpo legal (el "Caso de Título III

  del SRE"). El 27 de septiembre de 2019, la Junta de Supervisión emitió una certificación de

  reestructuración conforme a las secciones 104(j) y 206 de PROMESA, y radicó una petición

  voluntaria de remedio para la AEP conforme a la sección 304(a) de PROMESA, iniciando un caso

  conforme al Título III de dicho cuerpo legal (el "Caso de Título III de la AEP", y junto con el Caso

  de Título III del ELA y el Caso de Título III del SRE, los "Casos de Título III"). El 29 de junio de

  2017 y el 9 de octubre de 2019, el Tribunal dictó órdenes por las que concedió la administración

  conjunta de los Casos de Título III únicamente con fines procesales. ECF núm. 537, ECF núm.

  8829. 3

            4.     El 16 de enero de 2018, los Deudores radicaron su Moción de una orden que A) fije

  fechas límite y procedimientos para radicar evidencias de reclamaciones y B) apruebe la forma y

  la manera de su notificación [ECF núm. 2255] (la "Moción de Fecha Límite del ELA y del SRE").

  Por la Orden que A) fija fechas límite y procedimientos para radicar evidencias de reclamaciones

  y B) aprueba la forma y la manera de su notificación [ECF núm. 2521] (la "Orden Inicial de Fecha

  Límite del ELA y del SRE"), el Tribunal concedió el remedio solicitado en la Moción de Fecha

  Límite y fijó fechas límite y procedimientos para radicar evidencias de reclamaciones en el marco

  de los Casos de Título III. Luego de la moción informativa de determinados acreedores, y del

  apoyo de los Deudores, el Tribunal dictó a continuación la Orden que A) extendió fechas límite



  3
      Salvo disposición en contrario contenida en el presente documento, las citas ECF harán referencia
      a documentos radicados en el marco del Caso de Quiebra Núm. 17 BK 3283-LTS.


                                                     3
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                   Desc: Main
                           Document Page 13 of 20



  para radicar evidencias de reclamaciones y B) aprobó la forma y la manera de su notificación

  [ECF núm. 3160] (junto con la Orden Inicial de Fecha Límite del ELA y del SRE, las "Órdenes de

  Fecha Límite del ELA y del SRE"), extendiendo dichas fechas límite hasta el 29 de junio de 2018,

  a las 04:00 p.m. (AST).

         5.     El 11 de febrero de 2020, la AEP radicó su Moción de una orden que A) fije fechas

  límite y procedimientos para radicar evidencias de reclamaciones y B) apruebe la forma y la

  manera de su notificación [ECF núm. 36 en 19-BK-5523-LTS] (la "Moción de Fecha Límite de la

  AEP"). Conforme a la Orden que A) fija fechas límite y procedimientos para radicar evidencias

  de reclamaciones y B) aprueba la forma y la manera de su notificación [ECF núm. 55 en 19-BK-

  5523-LTS] (la "Orden Inicial de Fecha Límite de la AEP"), el Tribunal concedió el remedio

  solicitado en la Moción de Fecha Límite de la AEP y fijó fechas límite y procedimientos para

  radicar evidencias de reclamaciones en el marco del Caso de Título III de la AEP. En vista de la

  emergencia de salud pública causada por la propagación del COVID-19, el Tribunal extendió

  posteriormente esta fecha límite hasta el 29 de julio de 2020 (inclusive) a las 4:00 p.m. (AST)

  mediante la Orden que A) extiende fechas límite para radicar evidencias de reclamaciones y B)

  aprueba la forma y la manera de su notificación [ECF núm. 13403] (junto con la Orden Inicial de

  Fecha Límite de la AEP, las "Órdenes de Fecha Límite de la AEP", y junto con las Órdenes de

  Fecha Límite del ELA y del SRE, las "Órdenes de Fecha Límite").

  D.     Reclamaciones de la AEP y del SRE, Procedimientos relativos a objeciones globales y

  objeciones a reclamaciones

         6.     Hasta la fecha, se han radicado aproximadamente 179,420 evidencias de

  reclamaciones contra los Deudores, que han sido registradas por Prime Clerk, LLC. Dichas




                                                 4
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                    Desc: Main
                           Document Page 14 of 20



  evidencias de reclamaciones ascendieron a un total aproximado de $43.59 billones en

  reclamaciones radicadas contra los Deudores.

         7.     De las evidencias de reclamaciones radicadas, aproximadamente 116,160 han sido

  radicadas en relación con el ELA, o reclasificadas como radicadas contra el ELA. Más de 53,022

  evidencias de reclamaciones han sido radicadas en relación con el SRE, o reclasificadas como

  radicadas contra el SRE. Aproximadamente 390 evidencias de reclamaciones han sido radicadas

  en relación con la AEP, o reclasificadas como radicadas contra la AEP. De conformidad con las

  condiciones de las Órdenes de Fecha Límite, muchas de estas reclamaciones no tenían que haber

  sido radicadas en absoluto o adolecen de otro tipo de vicios; por ejemplo, haber sido enmendadas

  posteriormente, no alegar una reclamación por la que los Deudores sean responsables, estar

  duplicadas en relación con otras evidencias de reclamaciones o no aportar información necesaria

  para que los Deudores determinen si la reclamación es válida.

         8.     Para resolver eficazmente el mayor número posible de las evidencias de

  reclamaciones innecesarias, el 16 de octubre de 2018 los Deudores radicaron ante este Tribunal su

  Moción para que se dicte una orden que A) apruebe procedimientos limitados relativos a

  objeciones globales, B) exima el requisito contenido en la regla 3007(e)(6) de las Reglas de

  Quiebras, y C) conceda el remedio relacionado [ECF núm. 4052] (la "Moción de Procedimientos

  Globales"). El Tribunal concedió el remedio solicitado en la Moción de Procedimientos Globales

  mediante la orden de fecha 14 de noviembre de 2018. Véase la Orden que A) aprueba

  procedimientos limitados relativos a objeciones globales, B) exime el requisito contenido en la

  regla 3007(e)(6) de las Reglas de Quiebras, y C) concede el remedio relacionado [ECF núm.

  4230]; Procedimientos relativos a Objeciones Globales [ECF núm. 4230-1] (conjuntamente, los

  "Procedimientos Iniciales relativos a Objeciones Globales"). El 29 de noviembre de 2018, el




                                                 5
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                      Desc: Main
                           Document Page 15 of 20



  Tribunal aprobó las versiones en inglés y en español de los formularios de notificación relativos a

  las objeciones globales a efectos de radicarlas de conformidad con los Procedimientos Iniciales

  relativos a Objeciones Globales. Véase Orden por la que se aprobaron las versiones en inglés y

  en español de los formularios de notificación relativos a objeciones globales [ECF núm. 4381] (la

  "Orden de Notificación").

         9.      En aras del interés constante de resolver eficazmente cualesquiera evidencias de

  reclamaciones innecesarias, el 23 de mayo de 2019 los Deudores radicaron una moción relativa a

  procedimientos enmendados en la que solicitaron, entre otras cosas, que se les permitiera radicar

  objeciones globales sobre unas bases sustantivas, aumentar el número de reclamaciones que

  pudieran incluirse en una objeción y aprobar formas de notificación adicionales. Notificación de

  vista en relación con una Orden que A) apruebe Procedimientos Enmendados relativos a

  Objeciones Globales, B) exima los requisitos contenidos en la regla 3007(e) de las Reglas de

  Quiebras, C) apruebe formas de notificación adicionales y D) conceda el remedio relacionado

  [ECF núm. 7091]. El 14 de junio de 2019, el Tribunal concedió el remedio solicitado por medio

  de la Orden que A) aprueba Procedimientos Enmendados relativos a Objeciones Globales, B)

  exime los requisitos contenidos en la regla 3007(e) de las Reglas de Quiebras, C) aprueba formas

  de notificación adicionales y D) concede el remedio relacionado [ECF núm. 7440] (los

  "Procedimientos Enmendados relativos a Objeciones Globales").

         10.     Conforme a los Procedimientos Iniciales relativos a Objeciones Globales y los

  Procedimientos Enmendados relativos a Objeciones Globales, el Tribunal ha celebrado hasta la

  fecha más de 14 vistas vinculadas con más de 140 objeciones globales radicadas por el ELA, la

  Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA"), la Autoridad de

  Energía Eléctrica de Puerto Rico (la "AEE"), la Autoridad de Carreteras y Transportación de




                                                  6
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                     Desc: Main
                           Document Page 16 of 20



  Puerto Rico (la "ACT") y/o el SRE. Sobre la base de las resoluciones y órdenes del Tribunal

  dictadas hasta la fecha, aproximadamente 101,019 reclamaciones que reivindicaban $43.59

  billones en responsabilidad contra el ELA, COFINA, la AEE, la ACT y el SRE fueron rechazadas

  y retiradas del registro de reclamaciones en el marco de los procedimientos radicados conforme al

  Título III.

          11.    Esta Tricentésima cuadragésima primera objeción global se radica de conformidad

  con los Procedimientos Enmendados relativos a Objeciones Globales del Tribunal.

                   OBJECIONES A EVIDENCIAS DE RECLAMACIONES

          12.    Los Procedimientos Enmendados relativos a Objeciones Globales permiten a la

  AEP y al SRE radicar una objeción global a varias evidencias de reclamaciones sobre cualquiera

  de las bases recogidas en las reglas 3007(d)(1) a (7) de las Reglas Federales del Procedimiento de

  Quiebra (Federal Rule of Bankruptcy Procedure).

          13.    La Tricentésima cuadragésima primera objeción global pretende que se rechacen,

  de conformidad con las reglas 3007(d)(1) y 3007(d)(2) de las Reglas Federales del Procedimiento

  de Quiebra y los Procedimientos Enmendados relativos a Objeciones Globales, reclamaciones

  radicadas contra la AEP o el SRE que constituyen duplicados de otras evidencias de reclamaciones

  radicadas contra el ELA, y en las que en todo caso la responsabilidad alegada correspondería al

  ELA, y no a la AEP ni al SRE.

          14.    Como se establece en el Anexo A del presente documento, las reclamaciones

  radicadas contra la AEP y el SRE identificadas en la columna titulada "Reclamaciones que han de

  ser rechazadas" (conjuntamente, las "Reclamaciones que han de ser rechazadas") alegan

  responsabilidades que constituyen duplicados de otras evidencias de reclamaciones radicadas

  contra el ELA, según lo identificado en la columna titulada "Reclamaciones Restantes" (cada una,

  denominada una "Reclamación Restante" y conjuntamente, las "Reclamaciones Restantes"). Sobre


                                                  7
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                       Desc: Main
                           Document Page 17 of 20



  la base de un examen de los libros y registros de los Deudores, en todo caso lo correcto sería alegar

  la responsabilidad por las Reclamaciones que han de ser rechazadas contra el ELA (entidad contra

  la cual se alega la Reclamación Restante). En consecuencia, las Reclamaciones que han de ser

  rechazadas no constituyen reclamaciones válidas contra la AEP y el SRE.

         15.     Si las Reclamaciones que han de ser rechazadas no son rechazadas, ello resultaría

  en que los correspondientes reclamantes obtuvieran potencialmente una recuperación duplicada

  no justificada contra los Deudores, en detrimento de otras partes interesadas en los casos de Título

  III de los Deudores. Los titulares de las Reclamaciones que han de ser rechazadas no se verán

  perjudicados por el hecho de que se rechacen sus reclamaciones, puesto que cada uno de ellos

  mantendrá una Reclamación Restante contra el ELA. Puesto que esta Tricentésima cuadragésima

  primera objeción global a las Reclamaciones que han de ser rechazadas no constituye una objeción

  a las Reclamaciones Restantes, los Deudores se reservan el derecho a oponerse a las

  Reclamaciones Restantes sobre la base de cualesquiera otros motivos que fuere.

         16.     En apoyo de lo anterior, los Deudores invocan la Declaración de Jay Herriman en

  apoyo de la Tricentésima cuadragésima primera objeción global (no sustantiva) de la Autoridad

  de Edificios Públicos de Puerto Rico y del Sistema de Retiro de los Empleados del Gobierno del

  Estado Libre Asociado de Puerto Rico a Reclamaciones duplicadas de deudores recíprocos, de

  fecha 18 de junio de 2021, adjunta al presente como Anexo B.

                                          NOTIFICACIÓN

         17.     De conformidad con los Procedimientos Enmendados relativos a Objeciones

  Globales y la Orden de Notificación del Tribunal, los Deudores notifican la Tricentésima

  cuadragésima primera objeción global a) a los acreedores individuales objeto de la Tricentésima

  cuadragésima primera objeción global, b) al U.S. Trustee, y c) a la Lista maestra de notificaciones

  (según se define en la Notificación y procedimientos de administración de casos enmendados núm.


                                                   8
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                       Desc: Main
                           Document Page 18 of 20



  14 [ECF núm. 15894-1]), disponibles en el sitio web de casos de los Deudores, en

  https://cases.primeclerk.com/puertorico. Una copia de la notificación relativa a la Tricentésima

  cuadragésima primera objeción global se adjunta al presente como Anexo C. Las traducciones al

  español de la Tricentésima cuadragésima primera objeción global y de la totalidad de los anexos

  adjuntos al presente se están radicando con esta objeción y se trasladarán a las partes. Los Deudores

  sostienen que, dada la naturaleza del remedio solicitado, no es necesario enviar ninguna otra

  notificación.

                                    RESERVA DE DERECHOS

         18.      La presente Tricentésima cuadragésima primera objeción global se limita a los

  motivos expuestos en este documento. En consecuencia, esta se radica sin perjuicio de los derechos

  de los Deudores a objetar a las Reclamaciones que han de ser rechazadas o a cualesquiera otras

  reclamaciones sobre la base de los motivos que fuere. Los Deudores se reservan expresamente el

  derecho a radicar toda otra objeción sustantiva o procesal. Ninguna disposición contenida en el

  presente documento, ni ninguna acción adoptada conforme a tal remedio, tienen por objetivo, ni

  se interpretarán en el sentido de que: a) constituyan una admisión en cuanto a la validez de

  cualesquiera reclamaciones contra los Deudores; b) constituyan una renuncia a los derechos que

  asisten a los Deudores a impugnar cualquier reclamación sobre la base de los motivos que fuere;

  c) constituyan una promesa o requisito para pagar cualquier reclamación; d) constituyan una

  solicitud o autorización a asumir cualquier acuerdo, contrato o arrendamiento anteriores a la

  petición conforme al artículo 365 del Código de Quiebras; o e) constituyan una renuncia a los

  derechos que asisten a los Deudores conforme a PROMESA, el Código de Quiebras o cualquier

  otra normativa legal aplicable.




                                                   9
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34                    Desc: Main
                           Document Page 19 of 20



                           AUSENCIA DE SOLICITUDES PREVIAS

         19.    No se ha radicado ninguna solicitud de remedio previa a la presente Tricentésima

  cuadragésima primera objeción global ni ante este Tribunal ni ante ningún otro órgano judicial.

         POR LO QUE los Deudores solicitan respetuosamente que se dicte una orden,

  esencialmente en la forma de la Orden Propuesta que se adjunta al presente como Anexo D, 1) que

  conceda el remedio solicitado en el presente documento, y 2) que conceda a los Deudores

  cualesquiera otros remedios que se consideren justos.




                                                 10
Case:17-03283-LTS Doc#:17105 Filed:06/18/21 Entered:06/18/21 18:59:34       Desc: Main
                           Document Page 20 of 20



  Fecha: 18 de junio de 2021                     Respetuosamente sometida,
         San Juan (Puerto Rico)
                                                 [Firma en la versión en inglés]
                                                 Hermann D. Bauer
                                                 USDC núm. 215205
                                                 Carla García-Benítez
                                                 USDC núm. 203708
                                                 Gabriel A. Miranda
                                                 USDC núm. 306704
                                                 O’NEILL & BORGES LLC
                                                 250 Avenida Muñoz Rivera, local
                                                 800
                                                 San Juan, PR 00918-1813
                                                 Tel.: (787) 764-8181
                                                 Fax: (787) 753-8944

                                                 [Firma en la versión en inglés]
                                                 Martin J. Bienenstock (pro hac vice)
                                                 Brian S. Rosen (pro hac vice)
                                                 PROSKAUER ROSE LLP
                                                 Eleven Times Square
                                                 New York, NY 10036
                                                 Tel.: (212) 969-3000
                                                 Fax: (212) 969-2900

                                                 Abogados de la Junta de Supervisión
                                                 y Administración Financiera para
                                                 Puerto Rico, como representante de
                                                 la Autoridad de Edificios Públicos
                                                 de Puerto Rico y del Sistema de
                                                 Retiro de los Empleados del
                                                 Gobierno del Estado Libre Asociado
                                                 de Puerto Rico.




                                       11
